     Case 3:12-cr-03376-JLS   Document 30   Filed 09/13/12   PageID.44   Page 1 of 1



                        UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                   CASE NO. 12CR3376-JLS

                       Plaintiff,
               vs.                          JUDGMENT OF DISMISSAL
RAQUEL MENDIVIL (1),

                       Defendant.


          IT APPEARING that the defendant is now entitled to be discharged
for the reason that:

     an indictment has been filed in another case against the defendant and
     the Court has granted the motion of the Government for dismissal of
     this case, without prejudice; or

     the Court has dismissed the case for unnecessary delay; or

X    the Court has granted the motion of the Government for dismissal,
     without prejudice; or

     the Court has granted the motion of the defendant for a judgment of
     acquittal; or

     a jury has been waived, and the Court has found the defendant not
     guilty; or

     the jury has returned its verdict, finding the defendant not guilty;

X    of the offense(s) as charged in the Indictment/Information:

     21:952 AND 960 AND 18:2 - IMPORTATION OF METHAMPHETAMINE AND AIDING

    AND ABETTING


    IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.


    DATED:    September 11, 2012


                                              DAVID H. BARTICK
                                              United States Magistrate Judge
